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UNITED STATES OF AMERICA,
                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

                                             §
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                                                                           WERN OTR1CT OF TEXAS

                                                     CRIMINAL NO.: SA-20-CR-00514-OLG
                                                                                               DEFUTY



                                             §
               Plaintiff,                    §       First Superseding Indictment
                                             §
vs.                                          §       Ct 1: 18 U.S.C. §922(g)(1)
                                             §       Felon in Possession of a Firearm
                                             §
ROBERT DWAYNE HARRISON,                      §      Ct 2: 21 U.S.C. §841(a)(l)/(b)(l)(B)
                                             §      Possession with Intent to Distribute a
                                             §      Mixture or Substance Containing 28 or
               Defendant.                    §      More Grams of Cocaine Base
                                             §
                                             §      Ct 3: 21 U.S.0 § 846/ 841(a)(1)I(b)(1)(B)
                                             §      Attempt to Possess with Intent to
                                             §      Distribute a Mixture or Substance
                                             §      Containing 500g or more of Cocaine


THE GRAND JURY CHARGES:

                                         COUNT ONE
                                     [18 U.S.C. §922(g)(1)]

       On or about October 9, 2020, in the Western District of Texas, Defendant,

                              ROBERT DWAYNE HARRISON,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed ammunition and firearms, to wit: a Mossberg

International, model 715P, .22 caliber pistol, serial number EMK3995404; a Palmetto State

Armory, model PA-15, multi caliber pistol, serial number P1016152; a Smith and Wesson, model

M&P, .40 caliber pistol, serial number HRW4608, and a Smith and Wesson, model M&P, .40

caliber pistol, serial number LFKO22 1, which had been shipped and transported in interstate and

foreign commerce, in violation of Title 18, United States Code, Section 922(g)(1).
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                                       COUNT TWO
                             [21 U.S.C. § 841(a)(l)/(b)(1)(B)]

        On or about May 27, 2020, in the Western District of Texas, Defendant,

                              ROBERT DWAYNE HARRISON,

did unlawfully, knowingly, and intentionally possess with intent to distribute a controlled

substance, which offense involved 28 grams or more of a mixture or substance containing a

detectable amount of cocaine base, a Schedule II Controlled Substance, in violation of Title 21,

United States Code Section, 841(a)(1)/841(b)(1)(B).

                                 PENALTY ENHANCEMENT

Before the Defendant, Robert Dwayne Harrison, committed the offense charged in this count,

Robert Dwayne Harrison had a final conviction for a serious drug felony in cause number SA-08-

CR-012-OLG-(1), namely, Conspiracy to Distribute and Possess with Intent to Distribute Cocaine

Base in violation of 21 U.S.C.   §   846, 841(a)(1)1841(b)(1)(A), and Aiding and Abetting in the

Possession with intent to Distribute 50 grams or more of Cocaine Base in violation of 21 U.S.0

841 (a)(1) /841(b)(1)(A) and 18 U.S.C. § 2, for which he served more than 12 months             of
imprisonment, and for which he was released from serving any term of imprisonment related to

that offense within 15 years of the commencement of the instant offense.

                                    COUNT THREE
                          [21 U.S.0 § 846 &/ 841(a)(1)/(b)(1)(B)]


       On or about June 16, 2020, in the Western District of Texas, Defendant,

                              ROBERT DWAYNE HARRISON,

did unlawfully, knowingly, and intentionally attempt to possess with intent to distribute a

controlled substance, which offense involved 500 grams or more of cocaine, its salts, optical and

geometric isomers, and salts of isomers, a Schedule II Controlled Substance, in violation of Title
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21, United States Code, Sections 846, 841(a)(1)/(b)(1)(B).

                                      PENALTY ENHANCEMENT

Before the Defendant, Robert Dwayne Harrison, committed the offense charged in this count,

Robert Dwayne Harrison had a final conviction for a serious drug felony in cause number SA-08-

CR-012-OLG-(1), namely, Conspiracy to Distribute and Possess with Intent to Distribute Cocaine

Base in violation of 21 U.S.C.    §    846, 841(a)(1) I 841(b)(1)(A), and Aiding and Abetting in the

Possession with intent to Distribute 50 grams or more of Cocaine Base in violation of 21 U.S.0

841 (a)(1)   / 841(b)(l)(A) and       18 U.S.C. § 2, for   which he served more than 12 months of

imprisonment, and for which he was released from serving any term of imprisonment related to

that offense within 15 years of the commencement of the instant offense.

    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                   I.

                         Drug Violations and Forfeiture Statutes
[Title 21 U.S.C. § 846, 841(a)(1), (b)(1)(B), and (b)(1)(A), subject to forfeiture pursuant to
                            Title 21 U.S.C. § 853(a)(1) and (2)]

       As a result of the foregoing criminal violations set forth in Counts Two and Three, the

United States of America gives notice to Defendant ROBERT DWAYNE HARRISON of its

intent to seek the forfeiture of the properties described below upon conviction and pursuant to Fed.

R. Crim. P. 32.2 and Title 21 USC § 853(a)(1) and (2), which state:

       Title 21 USC § 853. Criminal forfeitures
           (a) Property subject to criminal forfeitures.
           Any person convicted of a violation of this subchapter or subchapter II of this chapter
           punishable by imprisonment for more than one year shall forfeit to the United States,
           irrespective of any provision of State law
               (1) any property constituting, or derived from, any proceeds the person
               obtained, directly or indirectly, as the result of such violation;
               (2) any of the person's property used, or intended to be used, in any
               manner or part, to commit, or to facilitate the commission of, such
               violation;
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                                                  II.
                         Firearms Violations and Forfeiture Statutes
  [Title 18 U.S.C. § 922(g)(1), subject to forfeiture pursuant to Title 18 U.S.C. 924(d)(1),
                                                                                 §
             made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

          As a result of the criminal violation set forth in Count One, the United States of America

gives notice to Defendant ROBERT DWAYNE HARRISON, of its intent to seek the forfeiture

of the properties described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title

18 U.S.C. §      924(d)(l), made applicable to criminal forfeiture by Title 28 U.S.C.       2461, which
                                                                                        §

states:

          Title 18 U.S.C. § 924. Penalties
          (d)(l) Any firearm or ammunition involved in or used in any knowing violation of
          subsection. . . (g). . . of section 922.. . shall be subject to seizure and forfeiture.
          under the provisions of this chapter...

This Notice of Demand for Forfeiture includes but is not limited to the following properties:

          1.   Mossberg International, model 715P, .22 caliber pistol, serial number EMK3995404;
          2.   Palmetto State Armory, model PA-i 5, multi caliber pistol, serial number P1016152;
          3.   Smith and Wesson, model M&P, .40 caliber pistol, serial number HRW4608;
          4.   Smith and Wesson, model M&P, .40 caliber pistol, serial number LFKO22 1; and
          5.   Any and all firearms, ammunition, andlor accessories involved in or used in the
               commission of the criminal offenses.




GREGG N. SOFER.
UNITED STATES ATTORNEY
BY:                  C-
                           -'      or
          KARINA DANIEL
          Assistant United States Attorney
